      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 1 of 25




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS

_________________________________

TAMARA LEVI,                                  )
                                              )
       Plaintiff                              )       Civil Action No.
                                              )
                                              )
v.                                            )
                                              )
                                              )
RENTNOHO.COM, INC,                            )
SHARON K. HESTON,                             )
PASSAGE HOLDINGS, LLC, and                    )
SUSAN M. DESCARAGE,                           )
                                              )
       Defendants.                            )
                                              )
___________________________________


                         COMPLAINT AND JURY DEMAND

                                 Preliminary Statement

 1.    Plaintiff brings this action to remedy the acts, policies, and practices of

       Defendants that have illegally deprived Plaintiff Levi and Plaintiff’s children of

       unique and valuable housing opportunities. Plaintiff alleges that Defendants,

       alone and in concert, intentionally discriminated against the Levi family because

       of the presence of minor children by: refusing to rent or negotiate in good faith

       for the rental of a dwelling; otherwise making a dwelling unavailable; placing

       different terms or conditions on the rental of a dwelling; making false

       representations of nonavailability; making discriminatory statements; unlawfully

       steering the Levi family away from a dwelling; aiding and abetting discriminatory

       acts and practices; and unlawfully delaying and denying the rental of a dwelling.

                                             1
     Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 2 of 25




2.    Defendants’ acts violate the federal Fair Housing Act (“FHA”), 42 U.S.C. §§

      3601, et seq., the Massachusetts Anti-Discrimination Law, M.G.L. c. 151B, § 4,

      and the Massachusetts Lead Poisoning Prevention and Control Act

      (“Massachusetts Lead Law”), M.G.L. c. 111, § 197(h), which prohibits a

      property owner from delaying the commencement of a tenancy for more than

      thirty days to meet the law’s abatement requirements, and § 199A, which

      prohibits a property owner from refusing to rent to a family because the presence

      of a child under age six would trigger duties under the Massachusetts Lead Law.

3.    All Defendants, individually through their actions and/or through the actions of

      their agents or principals, are liable for the violation of Plaintiff’s rights under the

      FHA, the Massachusetts Anti-Discrimination Law, and the Massachusetts Lead

      Law.

4.    Plaintiff seeks a declaratory judgment, permanent injunctive relief, and monetary

      damages.

                                 Jurisdiction and Venue

5.    Jurisdiction over Plaintiff’s federal FHA claims is conferred on this Court by 28

      U.S.C. §§ 1331 and1337, and 42 U.S.C. § 3612. This Court has supplemental

      jurisdiction over Plaintiff’s related state law claims of housing discrimination

      pursuant to 28 U.S.C. § 1367(a) because Plaintiff’s state law claims are so closely

      related to Plaintiff’s federal law claims as to constitute the same case or

      controversy under Article III of the United States Constitution.

6.    Plaintiff seeks declaratory relief pursuant to 28 U.S.C. §§ 2201 and 2202.




                                             2
          Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 3 of 25




    7.     Venue is proper in this district because the claims arose in the District of

           Massachusetts and all parties reside or do business in the District of

           Massachusetts.

                                                  Parties

    8.     Plaintiff Tamara Levi lives in Northampton, Massachusetts, with their1 two

           children. Levi currently works as the music instructor at the High School of

           Commerce in Springfield which is part of the Springfield Public School system.

    9.     Defendant RentNoho.Com, Inc. is a domestic profit corporation doing business in

           Northampton, Massachusetts, with its principal place of business located at 19

           Hawley Street, Suite A, Northampton, Massachusetts.

    10.    Defendant Sharon K. Heston is the President and Chief Executive Officer of

           RentNoho.Com, Inc. and is a licensed real estate broker in Massachusetts.

    11.    On information and belief, Defendant Passage Holdings is a Limited Liability

           Company doing business in Northampton, Massachusetts, with its principal place

           of business located at 23 Munroe Street, Northampton, Massachusetts. The

           Hampshire District Registry of Deeds (Book 10661, Page 111) lists Passage

           Holdings, L.L.C. as the record landowner of the residential property located at 15-

           17 Munroe Street in Northampton, Massachusetts.

    12.    Defendant Susan M. Descarage is a Manager for Passage Holdings, L.L.C. She is

           also a licensed real estate broker and a licensed attorney in Massachusetts.




1   Plaintiff Tamara Levi uses the pronouns “they” and “them”.

                                                     3
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 4 of 25




                                             Facts

13.    Plaintiff Tamara Levi has two children, M.P-L. and C.P-L., who were five and

       three years old, respectively, at all times relevant to this complaint.

14.    During the summer of 2020, Levi and their spouse were in the process of

       separating and moving out of the home they shared with their two minor children

       in Northampton, Massachusetts.

15.     Levi needed to quickly find a new home where Levi and the children could reside

       on the days that Levi had custody.

16.    In June, 2020, Levi saw an advertisement on Craigslist for an available apartment

       at 15 Munroe Street in Northampton, Massachusetts.

17.    The 15 Munroe Street apartment

       had everything Levi was looking

       for in an apartment. It was in a

       beautiful neighborhood on a quiet,

       residential street with no traffic.

18.    The property had a shared fenced-

       in backyard with grass that provided

       a convenient and safe environment for the children to play.

19.    At all times relevant to this Complaint, Defendants RentNoho.Com, Inc., and

       Sharon K. Heston (“RentNoho Defendants”), acted as real estate brokers for

       Defendants Passage Holdings and Susan M. Descarage (“Descarage

       Defendants”).




                                              4
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 5 of 25




20.    On June 22, 2020, Levi submitted a rental application to RentNoho.Com for the

       available apartment at 15 Munroe Street.

21.    The RentNoho Defendants’ rental application requires the names and dates of

       birth for each individual who would be living in the available unit, and Levi listed

       the names and dates of birth of the children as required.

22.    On June 23, 2020, RentNoho.Com informed Levi that it was processing the rental

       application for the available apartment at 15 Munroe Street.

23.    On June 24, 2020, Levi emailed the RentNoho Defendants to explain that Levi

       was the only adult moving into the 15 Munroe Street apartment. Levi’s two

       children would be staying at the apartment a few nights per week.

24.    Levi also noted that the preferred start date for the lease would be August 1, 2020.

25.    On June 24, 2020, the RentNoho Defendants replied to Levi’s email confirming

       that they understood that Levi’s two children would be staying at the apartment a

       few nights per week.

26.    The RentNoho Defendants also confirmed in this email that they would aim for a

       lease start date of August 1, 2020.

27.    On June 29, 2020, the RentNoho Defendants forwarded an email from Descarage

       to Levi to notify Levi that the apartment at 15 Munroe Street would need to be

       deleaded to allow children under six to live there. Descarage further notified Levi

       in writing that she did not know when the work could be completed.

28.    In this same email, the RentNoho Defendants wrote: “I am guessing that waiting

       until the unknown time for this to be completed does not work for your immediate

       housing needs, yes? We would like to continue to work with you to find a place.”

                                             5
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 6 of 25




24.    Levi replied to this email less than two hours later:

              I do have a little flexibility with my moving date and I really would love
              for this to be my apartment. It’s a great place and a fantastic
              neighborhood. If possible I would like to go ahead with the rental. It
              sounds like the landlord is already looking into remediation, which would
              be wonderful. Obviously I would love to move in August 1, but if it can’t
              happen then I have places I can stay in the interim. Can you let me know
              how to proceed?

25.    The next morning, June 30, 2020, RentNoho Defendants forwarded an email from

       Descarage to Levi which stated that Descarage was getting an estimate on July 3,

       2020, for the lead paint work, but “[d]ue to the COVID-19 situation the company

       has a backlog and would not be able to start work until September or October.”

29.    As part of this forwarded email, the RentNoho Defendants again advised Levi that

       “[t]here really is no way to proceed, we are in a wait and see limbo. . . looking

       more towards the end of the year for potential remediation completion.” The

       RentNoho Defendants asked Levi to let them know “if you want to put yourself in

       this position or you want to look at transfer options.”

30.    Later that day, Levi replied to the RentNoho Defendants and reaffirmed that: “I

       am really interested in this apartment for myself and my kids and I have some

       flexibility with my move in date. I’d love it if you and/or the landlord could

       provide me with an update about timing when they get that information on

       Wednesday.”

31.    On July 3, 2020, Levi met with Descarage for the first time to view the available

       apartment at 15 Munroe Street.




                                             6
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 7 of 25




32.    During this viewing, Levi told Descarage that they would love to take the

       apartment if it could work out. Descarage still did not have an estimate or a

       schedule for the necessary lead paint remediation work, and she repeatedly made

       negative and discouraging statements regarding the apartment, telling Levi that

       the downstairs tenant at 15 Munroe Street complains a lot about noise and that the

       tenant had sued people in the past.

33.    On July 14, 2020, the RentNoho Defendants forwarded an email fragment from

       Descarage to Levi in which Descarage stated: “I met with the potential tenant for

       15 Munroe on Friday. She is interested in the apartment but understands that it

       has to be deleaded before she can move in. I am still waiting for an estimate from

       the contractor, but work probably cannot start until sometime in September due to

       the backlog. Although she wants the apartment and is willing to wait, she will

       take another apartment if one opens up sooner.”

34.    In this same email, the RentNoho Defendants asked Levi to confirm whether Levi

       would take another apartment if one became available before the 15 Munroe

       Street unit was deleaded.

35.    Based on the RentNoho Defendants’ and the Descarage Defendants’ conduct and

       communications throughout the real estate transaction, it is apparent that they

       considered Levi qualified to rent the dwelling at 15 Munroe Street.

36.    Later that day on July 14, 2020, Levi replied to the RentNoho Defendants’

       question about Levi’s intentions by stating: “I would love to take that apartment if

       it could work out, but … if something else came along before it was de-leaded I

       would want to take it.”

                                             7
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 8 of 25




37.    After receiving no update for almost a week, Levi emailed the RentNoho

       Defendants again on July 20, 2020, asking for an update on the deleading timeline

       for the 15 Munroe Street apartment.

38.    Two days later, on July 22, 2020, the RentNoho Defendants replied to Levi’s July

       20, 2020 email suggesting that Levi, rather than the RentNoho Defendants, should

       now contact Descarage directly about the deleading timeline for the 15 Munroe

       Street apartment.

39.    On the afternoon of July 22, 2020, Levi sent an email to the RentNoho

       Defendants, explaining that Levi did not have any contact information for

       Descarage to inquire about the deleading timeline for 15 Munroe Street. Levi

       asked the RentNoho Defendants to send the contact information for Descarage.

40.    On July 27, 2020, Descarage emailed the RentNoho Defendants to ask if Levi had

       found another apartment yet and to inform the RentNoho Defendants that she still

       did not have a confirmed date for the lead paint remediation.

41.    On July 27, 2020, the RentNoho Defendants finally forwarded Descarage’s email

       to Levi and asked if Levi had contacted Descarage.




                                             8
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 9 of 25




42.    On August 4, 2020, two

       full days before Levi

       notified either the

       RentNoho Defendants

       or the Descarage

       Defendants that Levi

       had found another unit

       to rent, a new

       advertisement appeared on Craigslist for a second floor, one-bedroom apartment

       on Munroe Street, which appeared to show the building owned by Passage

       Holdings, LLC, at 15 Munroe Street in Northampton.

43.    The August 4, 2020 Craigslist advertisement for the apartment on Munroe Street

       stated that the apartment was available immediately.

44.    Upon information and belief, this is the same apartment that Descarage had

       offered – but failed to make available – to Levi from June 2020 through August 6,

       2020.

45.    On August 6, 2020, Levi notified the RentNoho Defendants by email that Levi

       had found another apartment and asked them to tell Descarage.

46.    On information and belief, the second-floor apartment at 15 Munroe Street that

       the Descarage Defendants offered – but failed to make available – to Levi from

       June 2020 through August 6, 2020, was immediately available to, and

       subsequently leased by, an adult applicant who did not have a child under age six.



                                           9
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 10 of 25




47.     The Descarage Defendants unlawfully discriminated against the Levi family, after

        approving their application, because of the presence of a child under age six, by

        refusing to negotiate in good faith with them, rent the property at 15 Munroe

        Street to them, and by otherwise making their property unavailable to them.

48.     The Descarage Defendants unlawfully discriminated against the Levi family, after

        approving their application, by unlawfully making negative and discriminatory

        statements to Levi about the downstairs neighbor at 15 Munroe Street to steer the

        Levi family away from the apartment because the Descarage Defendants did not

        want to rent to them because of the presence of a child under age six.

49.     The Descarage Defendants unlawfully discriminated against the Levi family, after

        approving their application, by failing to make the dwelling immediately available

        to the Levi family within the thirty-day window for lead abatement, although the

        dwelling was immediately available to all other qualified applicants without a

        child under age six.

50.     Upon information and belief, after approving Levi’s application, Descarage made

        false and misleading statements to Levi about Descarage’s inability to delead the

        apartment within thirty days in an effort to steer the Levi family away from the

        property and avoid having to comply with the lead abatement requirements of the

        Massachusetts Lead Law.

51.     After approving Levi’s application, the Descarage Defendants unlawfully failed to

        make the property available to the Levi family within thirty days to avoid the

        costs and burdens of complying with the lead abatement requirements of the

        Massachusetts Lead Law.

                                            10
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 11 of 25




52.     The RentNoho Defendants knew or should have known, that the Descarage

        Defendants unlawfully discriminated against the Levi family because of the

        presence of a child under age six by refusing to negotiate in good faith with them,

        refusing to rent to them, and for making a dwelling otherwise unavailable to them.

53.     The RentNoho Defendants knew or should have known that the Descarage

        Defendants unlawfully discriminated against the Levi family by failing to offer,

        within the thirty-day window for lead abatement, the immediate availability of the

        dwelling at 15 Munroe Street that they offered to applicants without a child under

        age six.

54.     The RentNoho Defendants knew or should have known that the Descarage

        Defendants unlawfully discriminated against the Levi family because of the

        presence of a child under age six by making false statements about the availability

        of 15 Munroe Street that were intended to steer the Levi family away from the

        property.

55.     The RentNoho Defendants knew or should have known that after approving

        Levi’s application, the Descarage Defendants made false and misleading

        statements to Levi about their unlawful failure to comply with the Massachusetts

        Lead Law, which requires a property owner to delead the dwelling within thirty

        days of approving an application.

56.     The RentNoho Defendants knew or should have known that after approving

        Levi’s application, Descarage unlawfully failed to make her property available to

        the Levi family within thirty days as required by the Massachusetts Lead Law.



                                            11
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 12 of 25




57.     The RentNoho Defendants, the agent or broker for the Descarage Defendants,

        aided and abetted the Descarage Defendants’ unlawful discriminatory and

        deceptive acts against the Levi family.

58.     The RentNoho Defendants failed to take prompt action to correct and end every

        discriminatory and deceptive act that the Descarage Defendants committed,

        despite knowing about the discriminatory conduct and having the power to correct

        it.

59.     The RentNoho Defendants unlawfully discriminated against the Levi family

        because of the presence of a child under age six by making discriminatory

        statements with respect to the rental of the dwelling.

60.     As a result of all Defendants’ discriminatory and deceptive acts and practices,

        Plaintiff Levi and Levi’s two children have suffered the loss of important and

        unique housing opportunities, violations of their civil rights, emotional distress,

        including humiliation, and other special and general damages.

61.     All of Defendants’ discriminatory and deceptive acts were and are intentional and

        willful, and have been and are implemented with callous and reckless disregard

        for the civil rights of Plaintiff and other families with minor children in

        Massachusetts.

62.     Since there exists an actual controversy between the parties regarding Defendants’

        obligations under federal and state fair housing laws, Plaintiff is entitled to

        declaratory relief.

63.     Plaintiff has no adequate remedy at law. Plaintiff and their minor children are

        now suffering and will continue to suffer irreparable harm as a result of

                                              12
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 13 of 25




        Defendants’ refusals to rent to them based on the presence of a child under the

        age of six.

64.     Plaintiff is entitled to injunctive relief to enjoin Defendants from engaging in the

        unlawful acts and practices of discrimination described above.


                                         COUNT I

                                  Descarage Defendants

           Refusal to Rent Based on the Presence of a Child Under Age Six
                       (Fair Housing Act, 42 U.S.C. § 3604(a))

65.     Plaintiff realleges and incorporates by reference all previous paragraphs in this

        complaint.

66.     The Descarage Defendants have injured Plaintiff by committing discriminatory

        housing practices in violation of the FHA, 42 U.S.C. § 3604(a), including but not

        limited to the following conduct:

        (a) Refusing to rent a dwelling after a bona fide offer has been made and

            accepted, and refusing to negotiate in good faith for the rental of a dwelling

            because of the presence of minor children, in violation of 24 C.F.R. §

            100.70(b);

        (b) Engaging in conduct relating to the provision of housing that otherwise

            makes unavailable or denies a dwelling because of the presence of minor

            children, in violation of 24 C.F.R. § 100.70(b);

        (c) Engaging in unlawful steering practices, including but not limited to

            discouraging the rental of a dwelling because of the presence of minor

            children by exaggerating drawbacks or failing to inform Plaintiff of the

                                             13
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 14 of 25




            desirable features of the dwelling, community, or a neighborhood, in

            violation of 24 C.F.R. § 100.70(c)(2).


                                        COUNT II

                                  Descarage Defendants

 Different Terms and Conditions Based on the Presence of a Child Under Age Six
                      (Fair Housing Act, U.S.C. § 3604(b))

67.     Plaintiff realleges and incorporates by reference all previous paragraphs in this

        complaint.

68.     The Descarage Defendants advertised their rental property at 15 Munroe Street to

        the public as immediately available on August 4, 2020.

69.     The immediate availability of a rental dwelling is an essential term of a rental

        agreement.

70.     The Descarage Defendants’ advertisement stating that the rental property at 15

        Munroe Street was immediately available to the public was false; the property

        was only immediately available to members of the public who did not reside with

        a child under age six.

71.     Although the Descarage Defendants had approved the Levi family’s application,

        it was not immediately available to the Levi family because Levi resided with two

        children under age six and renting to the Levi family would have required the

        Descarage Defendants to engage in lead abatement before any child under age six

        could live in the dwelling.




                                             14
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 15 of 25




72.     The Descarage Defendants imposed different terms and conditions on the

        availability of the property on families with children under age six, including

        Plaintiff Levi’s family, in violation of 42 U.S.C. § 3604(b).


                                        COUNT III

                                  Descarage Defendants

                               Discriminatory Statements
                         (Fair Housing Act, 42 U.S.C. § 3604(c))

73.     Plaintiff realleges and incorporates by reference all previous paragraphs in this

        complaint.

74.     The Descarage Defendants made discriminatory statements that violate the

        Plaintiff’s rights under 42 U.S.C. § 3604(c) because these statements were

        communicated to Plaintiff with respect to the rental of a dwelling and they

        indicate an intent to discriminate against families with minor children.

75.     The Descarage Defendants engaged in unlawful steering practices by intentionally

        communicating discriminatory statements which were intended to discourage

        Levi from continuing to negotiate for a rental at 15 Munroe Street because they

        asserted that Levi would not be comfortable or compatible with the existing

        resident of the apartment building because of Levi’s two minor children, in

        violation of 42. U.S.C. §3604(c) and 24 § C.F.R 100.70(c)(3).



                                        COUNT IV

                                  Descarage Defendants

                        False Representations of Nonavailability

                                             15
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 16 of 25




                         (Fair Housing Act, 42 U.S.C. § 3604(d))

76.     Plaintiff realleges and incorporates by reference all previous paragraphs in this

        complaint.

77.     The Descarage Defendants made false statements intended to deceive and mislead

        Plaintiff about the nonavailability of the 15 Munroe Street property during their

        protracted negotiations with Levi, in violation of 42 U.S.C. § 3604(d).

78.     The Descarage Defendants provided inaccurate or untrue information regarding

        the availability of the 15 Munroe Street property to Plaintiff, in violation of 24

        C.F.R. § 100.80.

79.     The Descarage Defendants unlawfully failed to provide material information

        during their protracted negotiations with Levi regarding their legal duty to comply

        with the Massachusetts Lead Law and make their dwelling available to and lead-

        safe for the Levi family within thirty days of approving their application, in

        violation of M.G.L. c. 111, § 197(h).


                                         COUNT V

                                  Descarage Defendants

                                Discriminatory Statements
                                (M.G.L. c. 151B, § 4(7B))

80.     Plaintiff realleges and incorporates by reference all previous paragraphs in this

        complaint.

81.     The Descarage Defendants made discriminatory statements that violated the

        Plaintiff’s rights under M.G.L. c. 151B, § 4(7B) because these statements were




                                             16
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 17 of 25




        communicated to Plaintiff with respect to the rental of a dwelling and they

        indicate an intent to discriminate against families with minor children.


                                        COUNT VI

                                  Descarage Defendants

           Refusal to Rent Based on the Presence of a Child Under Age Six
                              (M.G.L. c. 151B, § 4(11))

82.     Plaintiff realleges and incorporates by reference all previous paragraphs in this

        complaint.

83.     The Descarage Defendants refused to rent or negotiate in good faith for the rental

        of a dwelling because Plaintiff Levi has children under the age of six, in violation

        of Plaintiff’s rights under M.G.L. c. 151B, § 4(11).


                                       COUNT VII

                                  Descarage Defendants

             Unlawful Delay and Denial of Rental Based on the Presence
                             of a Child Under Age Six
                       (M.G.L. c. 111, §§ 197(h) and 199A)

84.     Plaintiff realleges and incorporates by reference all previous paragraphs in this

        complaint.

85.     After approving Levi’s application, the Descarage Defendants unlawfully failed to

        make their rental dwelling available to the Levi family within thirty days in

        violation of M.G.L. c. 111, § 197(h) because of the presence of a child under age

        six and to avoid incurring the costs and burdens of lead abatement, in violation of

        the Massachusetts Lead Law under M.G.L. c. 111, § 199A.


                                             17
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 18 of 25




                                       COUNT VIII

                                  RentNoho Defendants

           Refusal to Rent Based on the Presence of a Child Under Age Six
                       (Fair Housing Act, 42 U.S.C. § 3604(a))

86.     Plaintiff realleges and incorporates by reference all previous paragraphs in this

        complaint.

87.     The RentNoho Defendants knew, or should have known, that the Descarage

        Defendants unlawfully discriminated against the Levi family because of the

        presence of a child under age six, by refusing to negotiate in good faith with them,

        refusing to rent to them and by making a dwelling otherwise unavailable to them

        in violation of 42 U.S.C. § 3604(a).

88.     The RentNoho Defendants engaged in unlawful steering practices by

        discouraging the Levi family from renting a dwelling because of the presence of a

        child under age six by exaggerating the drawbacks of a dwelling, in violation of

        24 C.F.R. 100.70(c)(2).

                                        COUNT IX

                                  RentNoho Defendants

                            Different Terms and Conditions
                         (Fair Housing Act, 42 U.S.C. § 3604(b))

89.     Plaintiff realleges and incorporates by reference all previous paragraphs in this

        complaint.

90.     The RentNoho Defendants knew, or should have known, that the Descarage

        Defendants unlawfully discriminated against the Levi family because they offered


                                               18
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 19 of 25




        different terms and conditions of availability depending on whether a family with

        a child under age six would occupy the dwelling.

91.     The dwelling at 15 Munroe Street was immediately available to applicants

        without a child under age six, but not immediately available to a family with a

        child under age six, in violation of 42 U.S.C. § 3604(b).


                                        COUNT X

                                  RentNoho Defendants

                               Discriminatory Statements
                         (Fair Housing Act, 42 U.S.C. § 3604(c))

92.     Plaintiff realleges and incorporates by reference all previous paragraphs in this

        complaint.

93.     The RentNoho Defendants made discriminatory statements that violate the

        Plaintiff’s rights under 42 U.S.C. § 3604(c) because these statements were

        communicated to Plaintiff with respect to the rental of a dwelling and they

        indicate an intent to discriminate against families with children under age six.

94.     The RentNoho Defendants engaged in unlawful steering practices by intentionally

        communicating discriminatory statements which were intended to discourage

        Levi from continuing to negotiate for a rental at 15 Munroe Street, because they

        exaggerated the drawbacks of a dwelling based on the presence of minor children,

        in violation of 42 U.S.C. §3604(c) and 24 § C.F.R 100.70(c)(2).




                                             19
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 20 of 25




                                        COUNT XI

                                  RentNoho Defendants

                        False Representations of Nonavailability
                        (Fair Housing Act, 42 U.S.C. § 3604(d))

95.     Plaintiff realleges and incorporates by reference all previous paragraphs in this

        complaint.

96.     The RentNoho Defendants knew, or should have known, that the Descarage

        Defendants unlawfully discriminated against the Levi family because of the

        presence of a child under age six by making false statements about the availability

        of 15 Munroe Street that were intended to steer the Levi family away from the

        property, in violation of 42 U.S.C. § 3604(d).

97.     The RentNoho Defendants provided inaccurate or untrue information regarding

        the availability of the 15 Munroe Street property to Plaintiff, in violation of 24

        C.F.R. § 100.80.

98.     The RentNoho Defendants unlawfully failed to provide material information

        during the protracted negotiations with Levi regarding the Descarage Defendants’

        legal duty to comply with the Massachusetts Lead Law and make their dwelling

        available to and lead-safe for the Levi family within thirty days of approving their

        application, in violation of in violation of 42 U.S.C. § 3604(d).


                                        COUNT XII

                                  RentNoho Defendants

      Failure to Take Prompt Action to Correct and End Discriminatory Practices
                              (24 C.F.R. § 100.7(a)(iii))


                                             20
      Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 21 of 25




99.     Plaintiff realleges and incorporates by reference all previous paragraphs in this

        complaint.

100. The RentNoho Defendants failed to take prompt action to correct and end each of

        the Descarage Defendants’ discriminatory practices although the RentNoho

        Defendants knew or should have known of the discriminatory conduct and had the

        power to correct it. 24 C.F.R. § 100.7(a)(iii).


                                       COUNT XIII

                                  RentNoho Defendants

                        Aiding and Abetting Discriminatory Acts
                                (M.G.L. c. 151B, § 4(5))

101. Plaintiff alleges and incorporates by reference all previous paragraphs in this

        complaint.

102. The RentNoho Defendants knew or should have known that the federal Fair

        Housing Act, the Massachusetts Anti-Discrimination Law, M.G.L. c. 151B, § 4,

        and the Massachusetts Lead Law, required the Descarage Defendants to avoid

        discriminating against families with children and to make the dwelling at 15

        Munroe Street available to Levi’s family within thirty days of the Descarage

        Defendants’ approval of the application under M.G.L. c. 111, §§ 197(h).

103. The RentNoho Defendants’ discriminatory actions and its failures to end the

        discriminatory acts of the Descarage Defendants, as described above, aided and

        abetted the Descarage Defendants in committing acts of discrimination against

        Levi’s family because of the presence of a child under the age of six years old, in

        violation of M.G.L. c. 151B, § 4(5).


                                               21
   Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 22 of 25




                                     COUNT XIV

                                RentNoho Defendants

                             Discriminatory Statements
                             (M.G.L. c. 151B, § 4(7B))

104. Plaintiff realleges and incorporates by reference all previous paragraphs in this

      complaint.

105. The RentNoho Defendants made discriminatory statements that violate the

      Plaintiff’s rights under M.G.L. c. 151B, § 4(7B) because these statements were

      communicated to Plaintiff with respect to the rental of a dwelling and they

      indicate an intent to discriminate against families with minor children.


                                      COUNT XV

                                RentNoho Defendants

                              Discrimination Based on
                       the Presence of a Child Under Age Six
                              (M.G.L. c. 151B, § 4(11))

106. Plaintiff realleges and incorporates by reference all previous paragraphs in this

      complaint.

107. The RentNoho Defendants knew, or should have known, that the Descarage

      Defendants unlawfully discriminated against the Levi family because of the

      presence of a child under age six, by refusing to negotiate in good faith with them,

      refusing to rent to them, and by making a dwelling otherwise unavailable to them

      in violation of M.G.L. c. 151B, § 4(11)).




                                           22
   Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 23 of 25




                                      COUNT XVI

                                 RentNoho Defendants

                   Unlawful Delay and Denial of Rental Based on the
                          Presence of a Child Under Age Six
                         (M.G.L. c. 111, §§ 197(h) and 199A)

108. Plaintiff realleges and incorporates by reference all previous paragraphs in this

      complaint.

109. The RentNoho Defendants knew, or should have known, that after approving

      Levi’s application, the Descarage Defendants discriminated against Plaintiff by

      making deceptive and misleading statements and material omissions about their

      unlawful failure to comply with the Massachusetts Lead Law, which requires a

      property owner to delead the dwelling within thirty days of approving a

      prospective tenant’s application to lease the dwelling with a child under age six,

      as required by M.G.L. c. 111, § 197(h).

110. The RentNoho Defendants knew, or should have known, that after approving

      Levi’s application, the Descarage Defendants unlawfully failed to make their

      rental dwelling available to the Levi family within thirty days solely to avoid

      incurring the costs and burdens of lead abatement triggered by the presence of a

      child under age six, in violation of M.G.L. c. 111, §§ 197(h) and 199A.

111. The RentNoho Defendants knew, or should have known, that after approving

      Levi’s application, the Descarage Defendants violated the Massachusetts Lead

      Law by intentionally delaying and thereby denying the rental of 15 Munroe Street

      to Plaintiff, for over thirty days, in violation of M.G.L. c. 111, § 197(h), solely to

                                            23
    Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 24 of 25




       avoid incurring the costs and burdens of lead abatement triggered by the presence

       of a child under age six, in violation of M.G.L. c. 111, § 199A.



                                   Prayer for Relief

WHEREFORE, Plaintiff respectfully requests that this Court:

       (a) Declare the actions of Defendants outlined above to be illegal and in

           violation of the federal Fair Housing Act, M.G.L. c. 151B and M.G.L. c. 111,

           §§ 197(h) and 199A;

       (b) Permanently enjoin Defendants, their agents, and their employees from

           discriminating on the basis of familial status, or any other ground prohibited

           by the federal Fair Housing Act and M.G.L. c. 151B;

       (c) Order affirmative relief as may be appropriate to remedy Defendants’ past

           discriminatory practices and decisions and to ensure that Defendants do not

           discriminate in the future;

       (d) Award compensatory damages;

       (e) Award punitive damages;

       (f) Award attorney’s fees and costs incurred in the prosecution of this case;

       (g) Hold the Defendants jointly and severally liable to pay Plaintiff’s damages,

           costs, and reasonable attorney fees incurred in prosecution of this case; and,

       (h) Provide any other relief this Court deems just and equitable.




                                           24
     Case 3:21-cv-30049-MGM Document 1 Filed 04/28/21 Page 25 of 25




                                         Jury Demand

Plaintiff hereby requests a trial by jury on all counts that are triable of right by a jury.




                                /s/ Meris L. Bergquist
                                Meris L. Bergquist, BBO #600979
                                Massachusetts Fair Housing Center
                                57 Suffolk Street,
                                Holyoke, MA 01040
                                (p) (413) 539-9796
                                mbergquist@massfairhousing.org


                                 /s/ Ashley Grant
                                Ashley Grant, BBO #673451
                                Massachusetts Fair Housing Center
                                57 Suffolk Street,
                                Holyoke, MA 01040
                                (p) (413) 539-9796
                                agrant@massfairhousing.org


                                 /s/ Elizabeth Connor
                                 Elizabeth (Annie) Connor, BBO #682467
                                 Massachusetts Fair Housing Center
                                 57 Suffolk Street,
                                 Holyoke, MA 01040
                                 (p) (413) 539-9796
                                 aconnort@massfairhousing.org




                                               25
